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                                                 Defendants the London Market Insurers are directed to respond to the
January 8, 2021                                  arguments in Plaintiff's letter, Doc. 7, by Wednesday, January 13, 2021.

VIA ECF                                          It is SO ORDERED.

Honorable Edgardo Ramos
United States District Judge
United States District Court                                                                       1/11/2021
Thurgood Marshall U.S. Courthouse
40 Foley Square, Room 619
New York, NY 10007

RE:     The Roman Catholic Diocese of Rockville Centre, New York v. Arrowood Indemnity Company,
        et al. (In re The Roman Catholic Diocese of Rockville Centre, New York); Case 1:21-cv-00071-
        ER

Dear Judge Ramos:

This firm represents debtor/plaintiff The Roman Catholic Diocese of Rockville Centre, New York
(“Plaintiff”) in the above-referenced matter. Please accept this letter motion for an Order, pursuant to
Rule 13 of the Rules for the Division of Business Among District Judges, transferring this matter to The
Hon. Valerie Caproni who is presiding over a related matter assigned Case No. 1:20-cv-11011-VEC.

On October 1, 2020, Plaintiff commenced an adversary proceeding by filing a complaint in the United
States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) docketed as
Adv. Pro. No. 20-01227-SCC (the “Adversary Proceeding”), naming multiple insurance companies
including, among others, defendant Arrowood Indemnity Company (“Arrowood”) and a group of
defendant insurance companies identifying themselves as the London Market Insurers (“LMI”). The
Complaint seeks as against all defendant insurance companies a declaratory judgment related to certain
insurance policies and asserting breach of contract claims.

On December 28, 2020, Arrowood filed in the Bankruptcy Court its Motion to Withdraw the Reference
to the Bankruptcy Court Pursuant to 28 U.S.C. § 157(d), Rule 5011(a) of the Federal Rules of
Bankruptcy Procedure, and Local Bankruptcy Rule 5011-1 (the “Arrowood Motion”). The Arrowood
Motion was subsequently transmitted to the District Court by the Clerk of the Bankruptcy Court and has
been assigned to Judge Caproni as Case 1:20-cv-11011-VEC. Also on December 28, 2020, LMI filed in
the Bankruptcy Court their Motion for Withdrawal of the Reference (the “LMI Motion” and, together
with the Arrowood Motion, the “Motions”). The LMI Motion was subsequently transmitted to the
District Court by the Clerk of the Bankruptcy Court and, on January 6, 2021, was initially assigned to
Judge Caproni as related to Case 1:20-cv-11011-VEC. On January 7, 2021, the LMI Motion was
“Declined as Not Related” and “returned to the wheel for assignment” whereupon it was assigned to
Your Honor.

           ABU DHABI  ATHENS  AUSTIN  BEIJING  BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG
        HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI  MUNICH  NEW YORK  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON
               RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON
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Plaintiff submits that the Motions are undeniably related as they both are brought by defendant
insurance companies to the same adversary proceeding seeking to withdraw the reference to the
Bankruptcy Court.

Rule 13(a) provides in pertinent part:

    (1) General Rule. Subject to the limitations set forth below1, a … motion to withdraw the bankruptcy
        reference will be deemed related to one or more civil cases, appeals or motions when the interests of
        justice and efficiency will be served. … . Motions to withdraw the bankruptcy reference are deemed
        related if they seek withdrawal with respect to all or part(s) of the same adversary proceeding.

Review of the dockets in this Court and the Bankruptcy Court reveals that LMI did not indicate on form
JSC44C (Civil Cover Sheet) that this matter was related to Case 1:20-cv-11011-VEC, the matter before
Judge Caproni. There also does not appear to be a Related Case Statement on file, which may have been
the basis for the action going back into the wheel for assignment. Nonetheless, the Motions both seek to
withdraw the entirety of the Adversary Proceeding and are therefore, pursuant to Rule 13(a)(1), deemed
related. Having these Motions heard by two different judges will not only be an inefficient use of the
Courts’ time and resources and unnecessarily burden the parties, most importantly, it will create a risk of
inconsistent rulings concerning identical claims arising out of a single adversary proceeding. The latter
could result in a scenario whereby Plaintiff is required to prosecute the Adversary Proceeding in two
separate venues (Bankruptcy Court and District Court) or before two separate judges in the District
Court. None of these scenarios is in the interest of justice and efficiency, and all interests would be best
served if the matters proceeded before a single court.

For the foregoing reasons, it is respectfully requested that Case No. 1:21-cv-00071-ER be transferred to
Judge Caproni to be heard together with the related Case No. 1:20-cv-11011-VEC.

Respectfully submitted,

/s/ John Berringer

John Berringer

cc: (via email to parties on Schedule 1)




1
 Plaintiff notes that such a limitation is set forth at Rule 13(a)(2)(D), which provides that “[b]ankruptcy appeals
and motions to withdraw the reference are not treated as related merely because they arise from the same
bankruptcy proceeding.” Here, the Motions do not merely arise from the same bankruptcy proceeding, but are
brought by defendants to the same adversary proceeding.
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